     Case: 1:24-cv-09725 Document #: 19 Filed: 11/14/24 Page 1 of 1 PageID #:58

                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                 Eastern Division

Flava Works Entertainment, Inc., et al.
                                          Plaintiff,
v.                                                     Case No.: 1:24−cv−09725
                                                       Honorable Franklin U. Valderrama
Joel Lewitzky, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 14, 2024:


        MINUTE entry before the Honorable Jeannice W. Appenteng: This case has been
referred to Magistrate Judge Appenteng for discovery supervision (including setting all
deadlines, resolution of any discovery motion, and resolution of any motion to stay
discovery) and settlement matters [17], [18]. Plaintiff's amended motion for leave to take
discovery prior to Rule 26(f) conference [14] is entered and continued. By 11/18/2024,
plaintiff shall file the referenced accompanying memorandum and declaration. By
12/17/2024, the parties shall hold a Rule 26(f) conference and file a joint status report
setting forth the information in the Court's Standing Order for Initial Status Report. If
defendants have not been served with process by 12/17/2024, plaintiff, instead, shall file a
status report updating the Court on its efforts to serve defendants and its plan to have them
served. Mailed notice. (kl, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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